Case 1:24-cr-10090-WGY Document 15-6 Filed 04/22/24 Page 1 of 1

Tara Perry

Lowell, MA 01850
millcitycraftfairs@gmail.com

April 17, 2024
To The Honorable Judge Presiding Over This Case:

My name is Tara Perry, | am a longtime friend of Walter Norton. | have known Walter since we
were teenagers - almost thirty years. | consider him to be a big brother, not just my
brother-in-law, considering how long he’s been in my life and in a relationship with my sister,
Tiffany.

Walter is a good man, who has shown nothing but love and compassion to my whole family. The
positive impact he has had on my family has brought us closer together - because family is so
important to Walter.

Over the past seven years, my mother has been battling cancer. Walter has been a pillar of
strength and support, often offering to help lend a hand whenever she needed anything. Walter
took it upon himself to research vitamins and supplements that have been proven to help with
cancer patients, in which he would go out and buy for her each month.

Walter is an uncle to my two children, often making sure they are doing well and reminding them
that he is always here for them. My son is especially close to Walter.

Walter is a kind and genuine person with a loving heart. Walter believes family is everything. My
family and | have been able to experience so many wonderful and fun times because of Walter.

Over the years, he has become a loving and supportive partner to my sister. We have so much

love and adoration for Walter and love having him present in our family.

| ask the court to release him on bail.

Sincerely,

Cesare
lornw Wh Tomy

Tara Perry

EXHIBIT 6
